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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


IN RE: NEW ENGLAND COMPOUNDING                       MDL No. 2419
PHARMACY, INC. PRODUCTS LIABILITY                    Master Dkt. 1:13-md-02419-FDS
LITIGATION

THIS DOCUMENT RELATES TO:                            Judge Rya Zobel

All Cases Identified In Dkt. No. 1472-1.

                          PLAINTIFFS’ STEERING COMMITTEE’S
                        NOTICE OF FILING NOTICES OF DEPOSITION

       The Plaintiffs’ Steering Committee gives notice to the Court and all parties of filing the

Deposition Notices of St. Thomas Hospital’s 30(b)(6) designee, Dawn Rudolph; St. Thomas

Health’s and St. Thomas Hospital’s 30(b)(6) designee, Rebecca Climer; St. Thomas Health’s and

St. Thomas Hospital’s 30(b)(6) designee, Michael Schatzlein, MD; St. Thomas Health’s and St.

Thomas Hospital’s 30(b)(6) designee, Carmen Leffler; Deposition of Dale Batchelor, MD;

Deposition of Cindy Williams; and Deposition of Robert Latham, MD. Said Deposition Notices

are attached hereto as Exhibits 1 through 7, respectively. A copy of the Court’s MDL Order No.

10 (Deposition Protocol) is attached as Exhibit 8.

Dated: June 24, 2015                                 Respectfully submitted,

                                                     /s/ J. Gerard Stranch, IV
                                                     J. Gerard Stranch, IV
                                                     Benjamin A. Gastel
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                                                     227 Second Avenue North
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                                                     Plaintiffs’ Steering Committee and Tennessee
                                                     State Chair


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                                  CERTIFICATE OF SERVICE


       I, J. Gerard Stranch, IV, hereby certify that I caused a copy of the foregoing to be filed

electronically via the Court’s electronic filing system. Those attorneys who are registered with

the Court’s electronic filing system may access these filings through the Court’s system, and

notice of these filings will be sent to these parties by operation of the Court’s electronic filing

system.


Dated: June 24, 2015
                                                      /s/ J. Gerard Stranch, IV
                                                      J. Gerard Stranch, IV




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